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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA




DISTRICT OF COLUMBIA,
                                   Plaintiff,

                          v.                                       No. 1:21-CV-03267-APM

PROUD BOYS INTERNATIONAL, L.L.C., et al.,
                                   Defendants.


                                                 ORDER
       Before the Court is Plaintiff’s Motion to Compel. The Court hereby grants the Motion.

Defendants Ashlock, Proud Boys, Bru, Chrestman, DeCarlo, Donohoe, Jackman, Nordean, Ochs,

Scott, Worrell, Colon, Oath Keepers, Crowl, Hackett, Harrelson, James, and Watkins are each

ordered to produce all documents and communications responsive to the Plaintiff’s Requests for

Production within 30 days of the date of this Order.

                                                                     2023.11.03
       SO ORDERED.
                                                                     08:51:29
                                                                     -04'00'
                                                       _____________________________
                                                       Hon. Amit P. Mehta
                                                       United States District Court Judge


                                                       Dated: ________________
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                                   Local Rule 7(k) Appendix

The following attorneys and parties should be notified of this order:

              All counsel of record, via ECF

              Federal Detention Center
              ATTN: Proud Boys International, L.L.C.
              c/o Henry “Enrique” Tarrio, Chairman
              Inmate No. 98721-004
              33 NE 4th Street
              Miami, FL 33132

              Service of Process
              Secretary of State
              P.O. Box 12079
              Austin, Texas 78711-2079
              ATTN: Proud Boys International, L.L.C.

              Oath Keepers
              4625 West Nevso Dr., Suite 2 & 3
              Las Vegas, NV 89103

              Marc Anthony Bru
              10013 NE Hazel Dell Ave. #2
              Vancouver, WA 98685-5203

              Thomas Edward Caldwell
              PO Box 1120
              Berryville, VA 22611
              redstart11@gmail.com

              William Chrestman
              D.C. Central Detention Facility DCDC No. 376975
              1901 D St., SE
              Washington, D.C. 20003

              Louis Enrique Colon
              1539 Rosehill Road
              Overland Park, KS 66210

              Donovan Ray Crowl
              8201 Sea Star Drive
              Blacklick, OH 43004
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                Inmate Nicholas De Carlo
                Register No. 27214-509
                FMC Forth Worth
                P.O. Box 15330
                3150 Horton Road
                Fort Worth, TX 76119

                Charles Donohoe
                NC Detention Center
                125 Court Street
                Hillsborough, NC 27278
                Orange County

                Matthew Greene
                264 Burns Ave.
                Syracuse, NY 13206-2532

                Joseph Hackett
                8457 Cypress Lake Cir.
                Sarasota, FL 34243-2915

                Arthur Jackman
                4030 N. Econlockhatchee Trail
                Orlando, Fl. 32817-1327

                Joshua James
                91 Chimney Rock
                Union Grove, AL 35175

                David Moerschel
                117 Angol St.
                Punta Gorda, FL 33983-5324

                Ethan Nordean
                #28596-509
                Northern Neck Regional Jail
                3908 Richmond Road
                Warsaw, VA 225721

                Nicholas Robert Ochs
                3245 Virginia St
                Apt 56
                Miami, FL 33133-5250

1
 Plaintiff understands this to be Defendant Nordean’s present address per Defendant Nordean’s Opposition to the
Government’s Motion to Continue the March 8, 2022 Status Conference filed in USA v. Nordean et al., Case No.
21-cr-175, D.I. 300 (Mar. 6, 2022).
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    Dominic Pezzola
    #25870-509
    USP Lewisburg
    2400 Robert F. Miller Drive
    Lewisburg, PA 17837

    Elmer Stewart Rhodes III
    4600 Sapphire Ln.
    Granbury, TX 76049-6611

    Daniel Lyons Scott
    122 W Perry Ln.
    Englewood, FL 34223-2943

    Jessica Marie Watkins
    D.C. Central Detention Facility
    DCDC No. 376250
    1901 D Street, SE
    Washington, DC 20003

    Christopher John Worrell
    282 Stanhope Cir.,
    Naples, FL 34104-08
